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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN OVERSIGHT,

                        Plaintiffs,

                 v.                                Civil Action No.: 18-2582-DLF

 UNITED STATES DEPARTMENT OF
 EDUCATION,

                        Defendant.


                                      JOINT STATUS REPORT

       The parties, by and through undersigned counsel, respectfully submit this status report

pursuant to the Court’s March 15, 2019 Minute Order.

       1.       At issue are six Freedom of Information Act requests that Plaintiffs submitted to

Defendant on April 27, 2018, seeking records generally relating to student loan borrower

protections.

       2.       Defendant has completed its search and has located approximately 3,298 total pages

of potentially responsive records within the Office of the Secretary, Office of the Deputy Secretary,

and Office of Postsecondary Education.

       3.       In the March 15, 2019, Joint Status Report, Defendant committed to produce no

fewer than 500 pages of responsive, non-exempt records to Plaintiff on or before March 29, 2019,

and every 30 days thereafter.

       4.       On March 29, 2019, Defendant produced 1,098 pages of records to Plaintiff.

Plaintiff is reviewing those records, and the parties will confer regarding any outstanding issues.

       5.       The parties will continue to confer regarding the adequacy of the searches

conducted and will work to resolve any outstanding issues.
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       6.        The parties respectfully request that the Court order the parties to submit another

joint status report on or before June 14, 2019.

       7.        Undersigned counsel has communicated this information to Defendant’s counsel,

and he has authorized this report to be filed.



April 15, 2019                                        Respectfully submitted,

                                                      /s/ Hart W. Wood
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